                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

MARTIN J. WALSH, Secretary of Labor,              )
United States Department of Labor,                )
                                                  )
                 Plaintiff,                       )
                                                  ) Civil Action No. 4:22-cv-536
v.                                                )
                                                  )
A TOUCH OF LOVE, INC., and                        )
SHIRLEY NORTON, individually,                     )
                                                  )
                 Defendants.                      )
                                                  )

                                          COMPLAINT

       Plaintiff brings this action to enjoin Defendants from violating the provisions of section

15(a)(2) and 15(a)(5) of the Fair Labor Standards Act of 1938, as amended (29 U.S.C. § 201 et

seq.), hereinafter called the Act, pursuant to section 17 of the Act; and to recover unpaid

overtime compensation owing for Defendants’ employees, together with an equal additional

amount as liquidated damages, pursuant to section 16(c) of the Act.

                                                 I

       Jurisdiction of this action is conferred upon the Court by sections 16(c) and 17 of the Act,

and by 28 U.S.C. § 1345.

                                                 II

       Defendant A Touch of Love, Inc., is a corporation with its principal place of business

located at 3704 NW Briarwood Drive, in Blue Springs, Missouri 64015, within the jurisdiction

of this Court.




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                                                 III

       Upon information and belief, Defendant Shirley Norton resides at 3704 NW Briarwood

Drive, in Blue Springs, Missouri 64015, within the jurisdiction of this Court; is owner of

Defendant A Touch of Love, Inc.; and acts directly or indirectly in the interest of Defendant A

Touch of Love, Inc., in relation to its employees.

                                                 IV

       The activities of Defendants referred to in paragraphs II through III were, and are, related

and performed through unified operation or common control for a common business purpose,

and have, since February 9, 2019, constituted an enterprise within the meaning of section 3(r) of

the Act.

                                                 V

       Since February 9, 2019, Defendants at all times hereinafter mentioned were an enterprise

engaged in commerce or in the production of goods for commerce within the meaning of section

3(s)(1)(A) of the Act, in that said enterprise at all times hereinafter mentioned had employees

engaged in commerce or in the production of goods for commerce, or employees handling,

selling, or otherwise working on goods or materials that have been moved in or produced for

commerce by any person and in that said enterprise has and had an annual gross volume of sales

made or business done of not less than $500,000.

                                                 VI

       Defendants are, and at all times hereinafter mentioned were, employing employees in and

about their places of business in domestic service employment, within the meaning of section

2(a) of the Act. Section 2(a) states in pertinent part, “Congress . . . finds that the employment of

persons in domestic service in households affects commerce.” 29 U.S.C. § 202(a). Defendants’



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employees provide in-home care for people with disabilities. This work qualifies as domestic

service work and, accordingly, the employees at issue were engaged in commerce.

                                                    VII

       Defendants A Touch of Love, Inc., and Shirley Norton have violated and are violating the

provisions of sections 7 and 15(a)(2) of the Act by employing certain employees engaged in

commerce, in an enterprise engaged in commerce or in the production of goods for commerce for

workweeks longer than forty hours since February 9, 2019, without compensating said

employees for their employment in excess of forty hours in such workweeks at rates not less than

one and one-half times the regular rates at which they were employed.

                                               VIII

       Defendants A Touch of Love, Inc., and Shirley Norton have violated and are violating the

provisions of sections 11(c) and 15(a)(5) of the Act, in that since February 9, 2019, Defendants

have failed to make, keep, and preserve adequate and accurate records of Defendants’ employees

and of the wages, hours, and other working conditions and practices of employment maintained

by Defendants, as prescribed by the regulations (29 Code of Federal Regulations Part 516)

promulgated pursuant to section 11(c) of the Act, in that the records kept by Defendants failed to

accurately show, among other things, the hours worked each work day and each workweek, with

respect to certain of Defendants’ employees.

                                               IX

       Defendants A Touch of Love, Inc., and Shirley Norton have willfully and repeatedly

violated and are violating the provisions of the Act as alleged in paragraphs VII through VIII

above. A judgment permanently enjoining and restraining the violations herein alleged,




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including the restraint of the continued withholding of unpaid overtime compensation due

Defendants’ employees, is specifically authorized by section 17 of the Act.

                                                X

       As a result of the violations alleged in paragraphs VII, VIII, and IX above, amounts are

owing for certain present and former employees for the period from February 9, 2019, to

February 8, 2021, including those persons specifically named in Appendix A attached to

Plaintiff’s complaint.

       A judgment granting recovery of said amounts, together with an equal additional amount

as liquidated damages, is specifically authorized by section 16(c) of the Act.



       WHEREFORE, cause having been shown:

       Plaintiff prays judgment, pursuant to section 17 of the Act, permanently enjoining and

restraining Defendants, Defendants’ officers, agents, servants, employees, and those persons in

active concert or participation with Defendants who receive actual notice of any such judgment,

from violating the provisions of sections 15(a)(2) and 15(a)(5) of the Act.

       Plaintiff further demands judgment of $64,562.63, pursuant to section 16(c) of the Act,

against Defendants for the period February 9, 2019, to February 8, 2021, together with an equal

additional amount as liquidated damages.

       Should the Court decline to award said liquidated damages, Plaintiff further demands the

award of interest on said unpaid amounts from the date said unpaid amounts became due, until

date of judgment.




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                           Seema Nanda
                           Solicitor of Labor

                           Christine Z. Heri
                           Regional Solicitor

                           Evert H. Van Wijk
                           Associate Regional Solicitor

                           /s/ Traci Martin
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                           U.S. Department of Labor
                           Attorneys for Plaintiff Secretary of Labor




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                                  EXHIBIT A


1.    Marilyn Barksdale
2.    Iassiah Bartley
3.    Alicia Bryant
4.    Melvin Bryant
5.    Arletha Cal
6.    Bessie Canady
7.    Marquice Davis
8.    Devin Drew Jr.
9.    Devin Drew Sr.
10.   Sharon Dzula
11.   Richard Hannagan
12.   Charleszette Hurd
13.   Charonda Lawton
14.   CaSondra Malone
15.   Tracy Mays
16.   Keith McFarlane
17.   Chesla Mitchell
18.   Mohamdei Mohamdei
19.   Melvin Nicholson
20.   Derrica Session
21.   Marlow L. Simmons
22.   Maryam Simmons (Gueye)
23.   Sarah Thompson
24.   Keola Williams
25.   James Wolf
26.   Joyell Wroten




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